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1      Taylor M. Tieman (SBN 305269)
       Krohn & Moss, Ltd.
2      1112 Ocean Dr., 3rd Floor
       Manhattan Beach, CA 90266
3      Tel: (323) 988-2400 ext. 254
       Fax: (866) 861-1390
4      ttieman@consumerlawcenter.com
5      Attorneys for Plaintiff
       DAWN REAMER
6

7

8                             IN THE UNITED STATES DISTRICT COURT
9                       FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
       IN RE PORTFOLIO RECOVERY        )                    Case No: 3:11-md-02295-JAH-BGS
11     ASSOCIATES, LLC TELEPHONE       )
       CONSUMER PROTECTION ACT         )                    JOINT MOTION TO DISMISS WITH
12     LITIGATION                      )                    PREJUDICE PURSUANT TO FED. R.
                                       )                    CIV. PROC. 41(a)(1)(A)(ii)
13                                     )
                                       )                    Judge: Hon. John A. Houston
14                                     )
                                       )                    Magistrate Judge: Hon. Bernard G. Skomal
15     This Document Relates to REAMER )
       V. PORTFOLIO ASSOCIATES,        )
16     LLC, Case No.: 3:14-cv-02223-   )
       JAH-BGS                         )
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                                                    JOINT MOTION TO DISMISS

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1               IT IS HEREBY STIPULATED AND AGREED, by and between the parties
2      to Reamer v. Portfolio Recovery Associates, LLC, Case No. 3:14-cv-02865-JAH-
3      BGS (“the Reamer Action), namely Plaintiff Dawn Reamer and Defendant Portfolio
4      Recovery Associates, LLC, through their respective counsel, that the Reamer action,
5      including all claims and counterclaims that were or might have been asserted in the
6      Reamer action, may be and hereby are dismissed, pursuant to the parties’ settlement
7      arrangement and to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), with prejudice
8      and with each party to bear its own costs and attorneys’ fees.
9               The parties to the Reamer action respectfully request the Court to terminate
10     the Reamer action by valid order pursuant to this Joint Motion to Dismiss with
11     Prejudice and to direct the Clerk of this Court to transmit a copy of the same to the
12     Clerk of the United States Judicial Panel on Multidistrict Litigation. See J.P.M.L.
13     Rule 10.1 (“Where the transferee district court terminates an action by valid order,
14     including by not limited to summary judgement, judgement of dismissal and
15     judgement upon stipulation, the transferee district court clerk shall transmit a copy
16     of that order to the Clerk of the Panel. The terminated action shall not be remanded
17     to the transferor court and the transferee court shall retain the original files and
18     records unless the transferee judge or the Panel directs otherwise”).
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                                                    JOINT MOTION TO DISMISS

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     Case 3:11-md-02295-JAH-BGS Document 715 Filed 07/23/18 PageID.8618 Page 3 of 3




1        Dated: July 23, 2018                                      Dated: July 23, 2018
2        /s/ Nathan Andrew Searles                                 /s/ Taylor M. Tieman
         Nathan Andrew Searles                                     Taylor M. Tieman (SBN 305269)
3        Portfolio Recovery Associates                             Krohn & Moss, Ltd.
         140 Corporate Blvd                                        1112 Ocean Dr., 3rd Floor
4        Norfolk, VA 23502                                         Manhattan Beach, CA 90266
         Tel: (757) 519-9300                                       Tel: (323) 988-2400 ext. 254
5        Fax: (757) 321-2518                                       Fax: (866) 861-1390
         nasearles@portfoliorecovery.com                           ttieman@consumerlawcenter.com
6        PORTFOLIO RECOVERY                                        DAWN REAMER
         ASSOCIATES LLC
7

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9                                        SIGNATURE CERTIFICATION
10              Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
11     Policies and Procedures Manual, I hereby certify that the content of this document

12     is acceptable to Nathan Andrew Searles, counsel for Defendants, and that I have

13
       obtained Mr. Searles’ authorization to affix his electronic signature to this document.

14
       DATED: July 23, 2018                                        /s/ Taylor M. Tieman
15                                                                 TAYLOR M. TIEMAN
                                                                   Attorneys for Plaintiff
16
                                                                   DAWN REAMER
17

18                                         CERTIFICATE OF SERVICE

19              I hereby certify that on July 23, 2018, a true and correct copy of the foregoing

20     with the Clerk of the Court by using the CM/ECF System with copy to all parties

21     via the same.

22                                                                 /s/ Taylor M. Tieman
                                                                   Taylor M. Tieman
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                                                    JOINT MOTION TO DISMISS

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